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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,       )
                              )
            Plaintiff,        )
                              )
                              )
      v.                      )                          C.A. No. 24-cv-00018 (CJN)
                              )
                              )
JASON BAGSHAW, et al.,        )
                              )
            Defendants.       )
______________________________)


      PLAINTIFF’S COMBINED RESPONSE TO DEFENDANTS BAGSHAW AND
             MCALLISTER’S MOTIONS FOR PARTIAL DISMISSAL


        Defendant Jason Bagshaw’s Motion for Partial Dismissal (ECF No. 19) seeks dismissal

of Counts I and II insofar as they claim a violation of the Fourteenth Amendment because that

amendment does not apply to the District of Columbia and its employees. Defendant Neil

McAllister also moves to dismiss Count I with respect to the Fourteenth Amendment (ECF No.

23) for similar reasons. For reasons stated in their motions, Plaintiff agrees that the Fourteenth

Amendment does not apply to the District of Columbia or its employees. However, neither

Defendant moves to dismiss either Count for violation of the Fourth Amendment (use of

“excessive and deadly force”). Accordingly, Plaintiff’s Section 1983 claim for excessive force

under the Fourth Amendment remains intact.

        In addition, Bagshaw moves to dismiss Counts I and II against him in his official

capacity, and McAllister moves to dismiss Count I against him in his official capacity. Plaintiff

agrees that a suit against either officer in their official capacity is a suit against the District of



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Columbia and that municipal liability does not lie under Monell v. Department of Social Services

of City of New York, 436 U.S. 658 (1978) for a single act of excessive force alleged to have been

committed by both Defendants. However, discovery in this case may lead to evidence that may

support a claim of municipal liability, such as past practices of excessive force by either of the

defendants that were tolerated and not corrected, such that dismissal of the Counts against them

in their official capacity should only be denied without prejudice.

       Notably, neither Defendant has moved to dismiss Plaintiff’s Complaint on the basis that

they have “qualified immunity” to engage in the use of the excessive force as alleged in the

complaint. Cf. Estate of Lazarus Wilson and Tanya Wilson v. District of Columbia, et al., No.

23-cv-1987 (DLF) (D.D.C.), Motion to Dismiss Defendants [Former] Interim Chief Of Police

Ashan Benedict, District of Columbia, And Commander Jason Bagshaw’s Motion To Dismiss

And The District Of Columbia’s partial Motion For Summary Judgment at 9-14 (Officer

Bagshaw claims to have qualified immunity from a Section 1983 claim for the shooting death of

Lazarus Wilson) (ECF No. 9) (Oct. 2, 2023).


                                                      Respectfully submitted,

                                                      /s/ Paul D. Kamenar
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                                 CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing response was served via ECF on all counsel for the

defendants this 24th day of May, 2024.

                                                      /s/Paul D. Kamenar

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